                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    NO. 3:00CR8

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )          ORDER OF DISBURSEMENT
    v.                                           )
                                                 )
 JAMES EDWARD NANTZ, JR,                         )
 TIMOTHY LEE SHAW,                               )
 VICKI BRADLEY SPENCE,                           )
 JAMES DAWSON SIMPSON,                           )
 LETITA LOWE PICKLESIMER,                        )
 LINDA BROCKINGTON SIMPSON,                      )
 ELIZABETH MARIE RUSHING,                        )
  and THE NATIONAL BENEFITS                      )
 ASSOCIATION,                                    )
                                                 )
                Defendants.                      )
                                                 )

         THIS MATTER is before the Court sua sponte for purposes of disbursing the funds on

deposit with the Clerk of Court which were not disbursed as part of Special Master Charles E.

Lyons’“Final Report of Special Master” filed March 18, 2004, (doc. #324).

         Attorney Lyons was appointed Special Master in this matter by Honorable Richard L.

Voorhees, U.S. District Judge on January 4, 2002, (doc. # 283).      The Special Master is now

deceased and filed his “Final Fee Petition of Special Master” on April 7, 2004, (doc# 326).

         On January 13, 2003, per “Order” of this court, (doc#296) the U.S. Marshal Service

deposited with the Clerk $1,696,347.36 for transfer to the Special Master for disbursement to the

victims. This money was transferred to the Special Master’s trust account on October 21, 2003,

per “Order” of this court (doc#308). At that time this was the total amount of money available for

disbursement. In his “Special Master’s Distribution Report” filed September 17, 2003, (doc#307),




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the Master paid out these funds to the victims with each victim receiving 16.1576713% of the

funds on deposit. This list of victims and their pro rata payments found in the “Special Master’s

Distribution Report” were approved by the court in Judge Voorhees’ “Order” of October 21, 2003,

(doc #308).

       In addition to the funds given to the Special Master on January 13, 2003, the defendants

have also made payments to the Clerk of Court over the years. To date, these funds total

$87,357.38. Due to the death of Special Master Lyons, the Clerk hereby requests that the Financial

Section of this court disburse these funds to the victims using the same list of names and formula

used by Special Master Lyons and approved by the court in the October 21, 2003, “Order” (doc#

308) giving each identified victim 16.1576713% of the funds with the court and all future funds

which may come in on this case.

       IT IS SO ORDERED, that the Clerk shall proceed to disburse these and any further monies

received in this matter as outlined above.

       Copies of this Order are to be served on all parties, the Financial Section of this Court and

the Clerk of Court.

       IT IS SO ORDERED.

                                         Signed: March 23, 2016




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